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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

         v.
                                                           No. 18-cr-0032-2 (DLF)
    CONCORD MANAGEMENT AND
    CONSULTING LLC,

                 Defendant.


                                              ORDER

        Before the Court is Concord’s Motion for Relief from the Court’s Scheduling Order

requiring Concord to provide the government with its exhibit list, copies of its exhibits, and a

witness list on or before February 10, 2020. 1 Dkt. 323. On October 11, 2019, the parties agreed

to a pretrial schedule that required the government to provide Concord with its exhibit list and

copies of its exhibits three months before trial and its witness list nine weeks before trial. See

Joint Motion for Scheduling Order, Dkt. 213. This agreement also required Concord to provide

the government with an exhibit list, copies of its exhibits, and a witness list eight weeks before

trial. Id. The Court approved this agreement. See October 11, 2019 Scheduling Order, Dkt.

214. Despite Concord’s October 11, 2019 agreement to disclose its exhibits and witnesses well

in advance of trial, Concord now seeks to withhold potential exhibits and witnesses until after the

government presents its case-in-chief. See Def.’s Mot. at 2. Concord also asserts that it will not

be in a position to identify exhibits to be used in cross-examination until after witnesses testify



1
 Although Concord seeks relief from the Court’s January 24, 2020 Scheduling Order, that Order
merely restated the exhibit and witness disclosure deadlines that the Court set months earlier
based on the parties’ agreement. See October 11, 2019 Scheduling Order (adopting the parties’
Proposed Scheduling Order); Joint Motion for Scheduling Order, Dkt. 191.
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on direct examination. Id. Concord provides no good cause for its request for relief from this

Court’s scheduling orders. It merely asserts that a criminal defendant need not put on a defense

at all and that any defense it may decide to present could change based on evidence the

government introduces during trial. See Def.’s Mot. at 1–2.

        Although a criminal defendant need not decide before the close of the government’s case-

in-chief whether to present a defense at trial, the government also need not provide a criminal

defendant with its exhibits and witnesses months before trial. In this case, Concord negotiated

an unusually early disclosure of government exhibits and witnesses, and in return, Concord

agreed to disclose its potential exhibits and witnesses on February 10, 2020. Since then, the

government has fulfilled its side of the parties’ agreement. On January 6, 2020, the government

disclosed its exhibit list and copies of its exhibits, and today, February 3, 2020, the government

will disclose its witness list and Jencks and Giglio materials for those witnesses.

        Consistent with the parties’ October 11, 2019 agreement, the Court’s Scheduling Orders

of October 11, 2019 and January 24, 2020, and Concord’s reciprocal discovery obligations under

Federal Rule of Criminal Procedure 16(b)(1), Concord must now satisfy its end of the bargain.

Accordingly, on or before February 10, 2020, Concord shall provide the government with an

exhibit list and copies of any exhibits it may use at trial, as well as a list of any witnesses it may

call at trial, should Concord ultimately decide to present a defense. If new evidence comes to

light that Concord could not have known about on February 10, 2020, or if the Court permits the

government to supplement its exhibit or witness lists at a later date, Concord may seek leave to

supplement its exhibit list and witness list at that time.




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       For the foregoing reasons, it is

       ORDERED that Concord’s Motion for Relief from the Court’s Scheduling Order, Dkt.

323, is denied.




                                                       ________________________
                                                       DABNEY L. FRIEDRICH
                                                       United States District Judge
February 3, 2020




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